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                    EXHIBIT B
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                                                 The Commonwealth of Massachusetts
                                                  Commission Against Discrimination
                                                One Ashburton Place ,Boston, MA 02108
                                               Phone: (617)994-6000 Fax: (617)994-6024

MCAD DOCKET NUMBER: 16BEM02193                                            EEOC/HUD CHARGE NUMBER: 16G2016-02118
FILING DATE: 08/08/]6                                                     VIOLATION DATE: 03/24/16

Name of Aggrieved Person or Organization:
Mina ICoide
         G.L. c. 4, § 7(26)(c) Privacy




                                          .
----------------------------------------------------------------------------------------------------------------------------------------------
Named is the employer labor oi•~anization employment a~encv or state/local govermnent agency who discriminated
against me:
Wellington Management Company, LLP
Wellington Management Group, LLP
Attn: Director of Human Resources
280 Congress Street
Boston, MA 02210
Primary Phone:(617)951-5000 eat.

Brendan Swords, CEO, Individually
Wellington Management Company, LLP
Wellington Management Group, LLP
Attn: Director of Human Resources
280 Congress Sheet
Boston, MA 02210
Primary Phone:(617)951-5000 eat.

Charles Argyle, VP, Individually
Wellington Management Company, LLP
Wellington Management Group, LLP
Attn: Director of Human Resources
280 Congress Street
Boston, MA 02210
Primary Phone:(617)951-5000 ext.

No, of Employees:                        25+
Warl< Location:

Cause of Discrimination based on:
National Origin, Japanese; Age; Sex, Female; Race/Color, Asian or Pacific Islander; Retaliation.

The particulars are:
I, Mina ICoide, the Complainant believe that I was discrnninated against by Wellington Management Company, LLP,
Brendan Swords, CEO,Individually, Charles Argyle, VP, Individually, on the basis of National Origin, Age, Sex,
Race,/Color and Retaliation. This is iu violation of M.G.L. 151B Section 4 Paragraph 1B, 1, 4,4A,5 and ADEA, Title VII.

See Attachment.
-----------------------------------------------------------------------------------------------------------------------------------------------------
I hereby verify, under the pains and penalties of perjury, that I have read this complaint and the allegations contained herein
ai•e true to the best of my knowledge.



                                                                  (Signature of Complainant)

MCAD Docket Number 16BEM02193, Complaint
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                                CHARGE Off' DISC~tIlY1~iATION                                                               Errr~R c~xG~ r~u~ER

  This form.is affected by the Privacy Act of 1974; see Privacy Act Statement before                                        ~ FEPA
  completing this form.               ~                                                                                      ❑ EEOC

                                                    Massachusetts Commission Against Discrimination                                    and EEOC
                                                                              State or Local Agency, if any
      j
  NAM,E~ bidicate Mr., M ., Mrs.,J                                                                                         -                     G.L. c. 4, § 7(26)(c) Privacy

     NHS.           l~1/~A                        ~-~ ~ ~ ~-- ,
                                        G.L. c. 4, § 7(26)(c) Privacy                                         DATE OF BIRTH
                                                                                                                          G.L. c. 4, § 7(26)(c) Privacy



  NAMED IS THE EMPLOYER,LABOR ORGANIZATIO ,EMPLOYMENT AGENCY, APPRENTICESHIP COMMITTEE,STATE OR LOCAL GOVERNMENT
  AGENCY WHO DISCftQvIINATED AGAINST ME(if more than one list below.)
  NAMFte Ja fy`~~,y~~             ~~~b~                           /1.~~~q,
                                                                         {i(,/ ~~                NUMBER OF EMPLOYEES, MEMBERS                         TELEPHONE(Indica[eAreaCodeJ
        ~VC%d ~      ~                                           (,,f/

  STREET ADDRES                                   CITY, STATE AND         CODE                                     COUNTY


  NAME              ,,~~„ ,~                _y                                                                                                        TELEPHONE (indicate Aren Code)
            ~~~(~.v~'V~- ~VL~()IT~t 5~ ~-~~
  STREET ADDRESS                           / CITY,STATE AND ZIP CODE                                               COUNTY
                   SGi.GUP      Gty    ~l~il ~   ~7`tn~—
  CAUSE OF DISCRIMINATION BASED ON (Check appropriate box(es))                                   DATE DISCRIMNATION TOOK PLACE                                                   .
                                                                                 •               EARLIEST /                  LATES~yT

        RACE      ❑COLOR ~ SEX            ❑RELIGION ~ NATIONALORIGIN                               ~ ~~(~/~~/~~                              `~ ~~~~~~~~
                                                             ~`~,~~g y~~ t~                      ❑ CONTINLRNG ACTION
        RE'T'ALIATION ~ AGE           ❑DISABILITY ❑ OTHER(Spec)


 THE PARTICULARS ARE (IfaddiHonal paper is needed, attadt extra slieet(s)):


 See attached.




                                                                                                                                       A~1(~ ~         ~ ~'[`rl

        1                                                                            4




 I want this charge filed with both the EEOC and the State or Local Agency, if any,
 I will advise the agencies if I change my address or telephone number and I will
 cooperate fully witlrthem in the processin; of my charge in accordance with fl~eir
 procedures.

 I declare under penalty of perjury That the foregoing is hue and correct.


  ~'~~~~l ~                                                       ~~~',
 Date                            Charging .arty (Signah~re)




EEOC FORM 5(REV. 3/01)
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August 8, 2016

MCAD Boston Headquarters
One Ashburton Place, Suite 601
Boston, MA 02108

Dear Sir or Madam:

Please accept this submission as a complaint of discrimination on the basis of race, age, gender, ethnic
and national origin, and a complaint of retaliation, against Brendan Swords and Charles Argyle,
Wellington Management Company LLP ("WMC") and WMC's ultimate parent Wellington
Management Group LLP ("WMG"). WMC and WMG are hereafter together referred to as
"Wellington". Mr. Swords is Chairman and CEO of Wellington, and Mr. Argyle is Vice Chairman and
Director of Global Equity Portfolio Management of Wellington. Mr. Swords and Mr. Argyle are both
Partners at Wellington.

Wellington is headquartered in Boston (280 Congress Street, Boston MA, 02210-1024, Tel (617) 951-
5000)and had approximately 2,361 employees as of December 2015.

I worked for 10 years at Wellington, without ever receiving any disciplinary warnings or being the subject
of any disciplinary actions. I submitted a written discrimination complaint to Mr. Swords on January 22,
2016. On March 24, 2016, while Wellington was still engaged in what Mr. Swords referred to as an
"independent review" of my discrimination complaint, I was fired abruptly, without warning, effective
immediately.

As described in the accompanying document, Wellington stated that I was fired for "insubordination" and
"disrespectful tone" in communications with colleagues. However, Wellington refused to provide any
examples of the allegedly offending statements, and mentioned only one communication, an email, that
was allegedly "insubordinate" and "disrespectful". The email that Wellington mentioned was one in
which I was engaged in legally protected activity regarding my discrimination complaint and the
discrimination and retaliation I was experiencing.

In the accompanying document, I discuss the events and background of the discrimination and retaliation
I have suffered in violation of Massachusetts and Federal anti-discrimination laws and equal pay laws.

Thank you for your time.

Yours truly,

Mina Koide
                     G.L. c.
                       4, §
                     7(26)(c)
                     Privacy




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SUMMARY OF EVENTS:

I am a 56-year-old woman of Japanese race, ethnic origin and national origin. I am a member of multiple
protected classes under Massachusetts and Federal anti-discrimination laws.

From March 13, 2006 until March 24, 2016, I was employed by Wellington, an investment adviser that
manages investment funds. Initially, I was an Equity Analyst covering Japanese stocks. I was promoted
to Managing Director in 2011. As I was promoted, I became a Portfolio Manager of an equity fund that
invested in Japanese stocks. I received favorable year-end reviews during my 10 years at Wellington.

I was discriminated against on the basis of race, gender, national origin, ethnic origin, and age.

As an Equity Portfolio Manager, I managed approximately $166 million in the Japan Equity ("JE")fund
for pension funds under the authority of the North Carolina Department of the State Treasurer ("North
Carolina") as well as an account for Wellington employee retirement savings. Under my Portfolio
Management, the JE fund outperformed the fund's benchmark, the MSCI Japan Index, in 1 year, 3 year, 5
year, and Inception-to-Date periods as of December 31, 2015' with better than the peer• group
Information RatioZ. I was told by Associate Director of Global Equity Portfolio Management("GEPM")
Thomas Baxter in my 2015 year-end review on December 7, 2015 that my performance was "solid"3.
One month later, on January 7, 2016, Director of Equity Portfolio Management Charles Argyle told me
that my "performance is fine" and that I was a "tremendous resource" to the firm4. With the above skill
and substantial experience, I was fully qualified for the job.

Despite my qualifications and the positive feedback I received, I experienced adverse work events. Mr.
Argyle, in collaboration with Mr. Baxter and Product Manager Hideo UekiS, undermined my marketing
efforts6 for the Japan Equity fund and denied fair marketing support for me on the Japan Equity fund.3
Instead, Mr. Argyle promoted and rewarded individuals outside of my protected classes whose funds'



1 Perfor»aance Su»tnzairy Alpha, December 31, 2015.
2 Japan Monthly Prodzrct Repof•t, run date of December 14, 2015,from Aoi Nishiyama.
3 2015 Year-end Review Meeting between Thomas Baxter and Mina Koide, December 7, 2015
4 Meeting between Charles Argyle and Mina Koide, January 7, 2016.
5 Through his role as a Line Manager, Mr. Argyle has direct power over Product Managers such as Hideo Ueki. For
example, while Mr. Ueki is Product Manager for several funds, the creation and operation ofthose funds require the
approval of a Line Manager.
6 On October 13, 2015, at a client meeting with Anthos Asset Management in Netherland where I was marketing my
fund Japan Equity, Product Manager Hideo Ueki undermined my marketing effort by starting to market another
Wellington Japan product, a "larger cap" version of Japan Value Realization (S-JVR or F-JVR) managed by
Portfolio Manager Katsuhiro Iwai, right after I finished my presentation. Mr. Ueki continued to undermine my JE
fund in subsequent internal meeting with marketing personnel in London on October 15, 2015, by calling JE a
"Core" product, a term that Welling marketing personnel would understand as a harder to market product, while
promoting Mr. Iwai's products, Japan Special Situations ("JSS") and various "Japan Value Realization" funds
(including the mid-cap JVR, and "larger cap" Focused JVR or Select JVR ).

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results I believe were misleadingly presented', which I believe was done in violation of Wellington
policies, Wellington's own Code of Ethics which is on file with the Securities and Exchange
Commission, and Federal and state security laws.

Mr. Argyle sought to remove me as a Portfolio Manager under the pretext of an "option"8 and "idea"g of
me seeking a job with the Macroeconomist group, so that it would force my client North Carolina to exit
the Japan Equity fund that I managed in order to create advantageous conditions for Director of
Investment Strategy and Risk Kent Stahl (a white European/American man who is younger than me) and
Portfolio Manager Katsuhiro Iwai (a man who is younger than me). Mr. Argyle and Mr. Baxter also had
a plan to replace me on Wellington's Japan Teain (my business unit) with Yuichiro Soda, a man who is
younger than me. As a new equity analyst, Mr. Soda was still participating in a training, and had much
lesser qualifications than mine for analyzing and managing investments in Japanese stocks.

On January 22, 2016, I submitted to Wellington CEO Brendan Swords a detailed complaint regarding the
discrimination I was suffering at Wellington on the basis of my race, gender, ethnic origin, national
origin, and age. After Mr. Swords reviewed my discrimination complaint for 2 weeks, Mr. Swords asked
me to meet with him regarding my discrimination complaint on February 5, 2016.

Mr. Swords, Wellington's CEO and ultimate decision-maker, consulted with, was advised by, and spoke
with other Wellington personnel and members of Wellington "senior management"~ (which I believe
includes Vice Chairman Charles Argyle, a central subject of my discrimination complaint) prior to the
February 5 meeting with me. During the meeting, I observed that Mr. Swords repeatedly referred to a
document that appeared to be an extensively marked up and reformatted version of my written
discrimination complaint. At the February 5 meeting, N1r. Swords judged my discrimination complaint
invalid, and he repeated his judgment in writing on February 8 when he stated "As I told you then
[February 5], the facts described in your email do not in and of themselves support your conclusion."

I believe the evidence demonstrates Wellington's coordinated effort to terminate my position as a
Portfolio Manager in GEPM which would force North Carolina to exit the Japan Equity fund that I
managed, and to move its investments capital into the funds managed by Equity Portfolio Manager
Katsuhiro Iwai(a man who is younger than me)and Director of Investment Strategy and Risk Kent Stahl
(a white, European/American man who is younger than me).

• December 7, 2015: Mina Koide 2015 Year-End Review with Associate Director of Global Equity
  Portfolio Management Thomas Baxter in which Mr. Baxter says that he and his supervisor, Vice



 See later in this document for detail on Wellington's retroactive change in the benchmarks used for the Japan
Special Situations ("JSS") fiznd, which improved its 10 year relative performance record by 683% over the period
2002 — 2011 as a result ofthe retroactive change.
8 Meeting between Charles Argyle and Mina Koide, January 7, 2016.
9 Meeting between Tama Donovan and Mina Koide on February 23, 2016. Ms. Donovan stated that CEO Brendan
Swords "involved" Wellington's "senior management" in the response to my January 22, 2016 discrimination
complaint. IVI~•. Argyle is Vice Chairman. Mr. Argyle's Wellington biography states that "Charles is also a
member of the firm's senior management team ..."
                                                       3
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    Chairman Charles Argyle, believe that I should leave my Portfolio Manager job and seek a non-
    Portfolio Manager job in the Macroeconomist group.

• December 15, 2015: Mr. Baxter sends me an email, cc to Mr. Argyle, in which he repeated his and
  Mr. Argyle's "vision" that I should abandon my Portfolio Manager job and seek anon-Portfolio
  Manager job in the Macroeconomist group with the specific dine span of transition and requirement
  such as communication to North Carolina.

• December 17, 2015: Director of Investment Strategy and Risk Kent Stahl's meeting with the
  Wellington client the North Carolina Office of State Treasurer("North Carolina") at North Carolina's
  headquarter office10 in which Mr. Stahl promoted two multi-manager global funds, Global Income
  Opportunities ("GIO") and Hedged Alpha Opportunities ("HAO") both managed by Mf•. Stahl, to
  North Carolina. Mr. Stahl recommended that North Carolina withdraw its existing investment in
  Wellington's International Diversified Equity funds which Mr. Stahl did not manage.10 North
  Carolina's existing Wellington investment mandate (Wellington's International Diversified Equity
  funds) included tl~e Japan Equity fund that I managed. North Carolina was the sole unaffiliated
  investor in the Japan Equity fund, which meant that withdrawal of North Carolina from the Japan
  Equity fund would mean the elimination of the fund that I managed.

    Neither ofthe two global strategies recommended by Mr. Stahl,(GIO and HAO)included the JE fund
    that I managed. HAO includes Japan Alpha Opportunities (JAO) as underlying component"'~ and
    Mr. Iwai's Select Japan Value Realization, a "larger cap" version of Japan Value Realization ("JVR")
    fund, was approved as a "sleeve solution" of Mr. Stahl's multi-manager strategy, JAO.1z

•   January 7, 2016: Unscheduled meeting between Charles Argyle and Mina Koide. Mr. Argyle came
    by my office and proceeded to pressure more for 30 minutes to abandon my Portfolio Manager job
    and seek anon-Portfolio Manager job in the Macroeconomist group. Referring to my assignment on
    the North Carolina's account, Mr. Argyle stated "Kent [Stahl] could do Japan.", "[H]e [Mr. Stahl]
    could do Japan Opps" referring to Mr. Stahl's Japan Alpha Opportunities ("JAO") fund. When I
    asked Mr. Argyle if the "suggestion" that I abandon my Portfolio Manager job and seek a new job in
    the Macroeconomist group was Mr. Argyle's idea, Mr. Argyle responded "I don't remember where
    the idea came from."

Mr. Stahl's multi-manager funds such as GIO, HAO and JAO are part of CEO Brendan Sword's
Strategic Solutions initiative targeting large institutional clients and prospective clients. Mr. Argyle's role
as Vice Chairman reporting to Mr. Swords, member of the Strategic Relationship Advisory Committee,

10 Elizabeth O'Hara email to several Wellington personnel, No~-fh Car•olir~a — Three Meetings, Good Dialog,
December 22, 2015.
~ ~ Wellington Memorandum: 4 Dec 2013 Product Panel Meeting Notes, New Product Working Group and Product
Panel Review Sheet, August 18, 2015
lZ
    New Product Working Group and Product Panel Review Sheet, August 18 2015. Select Japan Value Realization
was the name of the fund at the time in which the product, defined as a "larger cap" version of Japan Value
Realization (JVR)fund, was reviewed by the Product Panel. The fund was called Focused Japan Value Realization
when the product was marketed to Pension Fund Association of Japan on January 25, 2016

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Line Manager for the JAO fund that Kent Stahl was marketing to North Carolina as a component of the
HAO fund13, and as Director of GEPM in control of Equity Portfolio Managers and Wellington's equity
products, demonstrates that Mr. Argyle should have been well aware of Wellington's plan to target North
Carolina as a new "Strategic" client by Mr. Stahl.

Consequently, Mr. Baxter's December 15, 2015 email to me, cc to Mr. Argyle,just two days before Mr.
Stahl's marketing meeting with North Carolina on December 17, 2015, appears to have been sent in
awareness of and in coordination with Mr. Stahl's recommendation to North Carolina to withdraw from
the International funds which include the Japan Equity fund that I managed.

Furthermore, given Mr. Argyle's status as Vice Chairman and aide to Mr. Swords (especially in regard to
client relationships and strategy), given Mr. Swords direct involvement in and detailed knowledge of his
key Strategic Relationship and Solutions initiatives, given that Mr. Swords and his fellow Managing
Partners received a briefing regarding me as part of my 2015 year-end review process, and given that
"Wellington places an emphasis on the orderly transition of ...portfolio management responsibility for
client assets"14, by the time of my February 5, 2016 meeting with Mr. Swords and Managing Partner Jean
Hynes (if not before I submitted my January 22 discrimination complaint), it appears that Mr. Swords
should have been aware that Mr. Argyle was seeking to eliminate my job as Portfolio Manager,and
Mr. Swords was making misleading statements when he claimed on February 5, 2016 and once
again on February 8, 2016 that Mr. Argyle was not seeking to eliminate my job as Portfolio
Manager.

Following Mr. Swords stating and repeating his judgment against my discrimination complaint, Mr.
Swords ordered two of his subordinates to conduct what he called an "independent review".

One of the employees charged with conducting an "independent review", Chief Compliance Officer
Nancy Morris, was ordered to review materials which had previously been reviewed by Wellington's
Legal and Compliance group. Ms. Morris and her supervisor, General Counsel Cynthia Clarke, are
responsible for Wellington's Legal and Compliance group. Ms. Clarke exercised direct control over
access to the report that Ms. Mon•is later wrote. Mr. Swords had ordered Ms. Morris, who is under Ms.
Clarke's supervision, to review work for which Ms. Morris and Ms. Clarke were responsible.

The other employee charged with conducting an "independent review" was Tama Donovan, Wellington's
Director of Global Employee Relations and Business Management. Ms. Donovan threatened to
potentially have me fired (when I met with Ms. Donovan on February 23, 2016, Ms. Donovan confirmed
that there was no written policy that justified her gratuitous threat15). Ms. Donovan allowed Charles
Argyle, the central subject of January 22 discrimination complaint, to -set certain terms and conditions of
the "independent review". I objected in writing to Mr. Swords that both of these matters demonstrated
that Ms. Donovan was not objective and her "review" was not an "independent review". Mr. Swords did


13 New Product Working Group and Product Panel Review Sheet, April 10, 2013.
14 Affidavit sworn by former Wellington CEO Duncan McFarland, May 20, 2008.
15 During our February 23, 2016 meeting, Tama Donovan stated that her threat to potentially have me fired was
"really was an attempt to convey our seriousness to do this investigation."
                                                      C~
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not respond to my initial objection regarding Ms. Donovan's threat to potentially have me fired. When I
sent a second objection that also included my objection to Mr. Argyle setting certain terms and conditions
of the "independent review", Mr. Swords responded to me. Mr. Swords directed me to meet with Ms.
Donovan despite the threat to potentially have the fired and despite Ms. Donovan allowing Mr. Argyle to
set certain terms and conditions of the "independent review". I followed Mr. Swords's order and met
with Ms. Donovan on February 23, 2016.

On March 24, 2016, two months after I submitted my January 22 discrimination complaint to Mr.
Swords, and while the "independent review" process that Mr. Swords had ordered was still ongoing, I
was abruptly and without warning fired effective immediately by Chief Human Resources Officer
Barbara Amone. Ms. Amone stated that my termination was a "leadership decision" and that I was fired
for "insubordination and disrespectful tone" in a "series of communications" with Mr. Swords and other
Wellington colleagues, but Ms. Amone refused to identify a single statement I had made that was
allegedly "insubordinate" and "disrespectful" and who were the persons who made the "leadership"
decision. From January 22, 2016 through my termination on March 24, my communication with Mr.
Swords and his Wellington subordinates who were involved with the "independent review" that Mr.
Swords ordered, directly pertained to my discrimination complaint, the retaliation I was subjected to, and
my opposition to Wellington's illegal practices under Massachusetts and Federal anti-discrimination laws.

I received no disciplinary warnings and was never the subject of a disciplinary action at Wellington until I
was fired without warning, effective immediately, on March 24, 2016. I was fired two months after I
submitted a discrimination complaint to Wellington's CEO.

I believe there is a direct link between my discrimination complaint and Wellington's illegal
retaliatory firing of me on March 24, 2016.

• Wellington illegally fired me while the "independent review" of my January 22 discrimination
  complaint that CEO Brendan Swords had ordered16 was still ongoing.
• In my March 21, 2016 email to Mr. Swords, I asked about the "independent review" he had ordered
  in response to my discrimination complaint. Mr. Swords would not respond to my question "What is
  an `independent review' independent of?" Mr. Swords did not explain or define "independent
    review".




COMPLAINANT

I, Mina Koide, am a 56-year-old woman of Japanese race, ethnic origin, and national origin. I am a
member of multiple protected classes and a protected age group under Massachusetts and Federal anti-
discrimination laws. I received a bachelor degree from Sophia University in Japan, a master degree in
international public policy from School of Advanced International Studies at the Johns Hopkins



16 Brendan Swords email to Mina Koide, cc to Jean Hynes, February 11, 2016.

                                                      :'~
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University, and a master degree in business administration ("MBA") from The Wharton School at the
University of Pennsylvania. I am a holder of the Chartered Financial Analyst("CFA")designation.

I began my professional career in 1982 as an international news correspondent and network news anchor
for Fuji Television in Japan. I began working as an Equity Analyst in the summer of 1998 while
attending The Wharton School, and after graduating in 1999 I worked as an Equity Analyst analyzing
Japanese companies and stocks. For the next 17 years, until March 24, 2016, I was employed as an
Equity Analyst and Portfolio Manager of Japanese stocks.

From March 13, 2006 until March 24, 2016, I was employed by Wellington, an investment management
firm. Initially, I was an Equity Analyst covering Japanese stocks, and then as I was promoted I became a
Portfolio Manager of the Japan Equity fund, a fiend that invested in Japanese stocks. I received pay
raises, favorable year-end reviews throughout my 10 years at Wellington. I was promoted to Managing
Director in 2011.




RESPONDENTS

Wellington Management Company LLP("WMC")is an SEC-registered investment adviser that serves
as investment adviser and manager to various investment funds.

Wellington Management Group LLP("WMG")is described by WMC in its Form ADV filed with the
Securities and Exchange Commission ("SEC") as "the ultimate parent of the Wellington Management
organization". "Wellington Management organization" employees who hold the title of Partner are
Pai~tneis in WMG.The committees mentioned within this joint MCAD/EEOC submission are committees
of WMG. For example, the Managing Partners Committee, the Strategic Relationship Committee, and
the Product Panel Committee, are committees of WMG.~~

WMC and WMG are herein referred to together as "Wellington". Wellington was my employer.

Brendan Swords. Mr. Swords is the Chairman and CEO of Wellington. Mr. Swords is a Partner. Mr.
Swords is one of the three Managing Partners on WMG's Managing Partner Committee. Mr. Swords is a
member of several Wellington committees and Wellington affiliate boards.

Charles Argyle. Mr. Argyle is Vice Chairman and Director of Global Equity Portfolio Management for
Wellington, and reports directly to Mr. Swords. Mr. Argyle is a Partner. Mr. Argyle is Director of
Global Equity Portfolio Management("GEPM"), which is the department in which I worked. Mr. Argyle
is a member of Wellington's Strategic Relationship Advisory Committee. While I reported to Thomas
Baxter who in turn reported to Mr. Argyle, Wellington referred to N1r. Argyle orally and in writing as my
"manager", Mr. Argyle wrote year-end "Manager Reviews" of me, and Mr. Argyle together with one of
the three Managing Partners met with me as part of the year-end review process in 2015. Mr. Argyle has


~~ i~ellington Management Gr•ozrp LLP Committees and Affiliate Boa~•ds, March 2016.

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worked closely with Mr. Swords for much of the tune since 2003, reporting directly, and currently
occupying the position (Director of GEPM)that Mr. Swords occupied before becoming CEO.



Wellington's demographic breakdown is heavily skewed towards white European/American men.

At the time I was fired from my Portfolio Manager job on March 24, 2016, approximately 41 of the
approximately 52 Portfolio Managers in Wellington's Global Equity Portfolio Management("GEPM")
group were white men of European/American ethnic origin and national origin.

Ofthe 52 Portfolio Managements in GEPM,only 6 were women. I was the oldest of the 6 women. Ofthe
6 women, 4 were white and European/American, and 2 were not white. I was one of the 2 who were not
white. I was the only Japanese female Portfolio Manager in GEPM.

Of the approximately 150 total Partners at Wellington as of mid-2015 , 135 of the 150 Partners were
white, 127 of the 150 Partners were male, and 135 of the 150 Partners are younger than me. Only 1
Partner was Japanese, and that Partner is a man who is younger than me.




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CLAIMS



DISCRIMINATION

Wellington acted to the benefit of Wellington employees outside of my protected classes and who are
younger than me, and to my detriment, by making what I believe are misleading statements and omitting
material facts to present their funds more favorably1S than they should be presented. I believe Wellington
knowingly does this in violation of Wellington's own policies, Wellington's own Code of Ethics, Federal
and state securities laws, and fiduciary duty. Wellington advantaged those individuals outside of my
protected classes and who are younger than me, and disadvantaged me, with better compensation19,
supportive marketing, and favorable overall evaluation for promotion (including promotion to Partner)?°
While I complied with for their funds Wellington's own policies, Wellington's Code of Ethics, Federal
and state securities laws, and fiduciary duty, Wellington disadvantaged me by undermining my
marketing6, denying me the same level of support for product development and marketing that other
Portfolio Managers outside of my protected classes and younger than me were receiving3.

Wellington supported other Wellington employees outside of my protected classes and who are younger
than me with faster fund approvals, "incubation" and internal funding for their new fundsZ', and applied
"patient"22 and "long-term" approach23 for their existing funds. Wellington denied my opportunity to


18 See below detail on Wellington's retroactive change in the benchmarks used for Japan Special Situations ("JSS")
fund, which improved its 10 year performance record by 68.3% from 2002 to 2011.
19 In addition to base salary, Wellington Portfolio Managers would receive a twice per year incentive bonus based
on their fund's performance relative to its assigned benchmark, a corporate bonus, and a bonus fi•om a
Partner/Managing Director pool. The corporate bonus and bonus from the Partner/Managing Director pool is
discretionary.
20 Wellington's year-end review process, including compensation determination and promotion, for Portfolio
 Managers has significant direct and indirect dependence on benchmarks and success in fundraising (which can
involve active support from Wellington or active undermining by Wellington). For example, how Wellington
selects and changes benchmarks, and how Wellington allows Wellington funds without track records to market off
the records of other Wellington funds with track records has a significant impact on compensation, future
fundraising, and promotion. As is discussed in this joint MCAD/EEOC submission, in these areas, Wellington has
 acted to favor employees outside my protected classes and who are younger than me, and to disfavor me.
 Wellington's year-end review process includes "peer review" ratings which are not required to be substantiated with
 verifiable data. As a result, the "peer review" process appears to be biased in favor of the majority demographic.
Z'Wellington gave "incubation" and fast track approval for funds with limited track records by individuals outside
 my protected class. The JAO fund, amulti-manager fund managed by Mr. Stahl and its component funds such as
the Japan Contrarian Value ("JCV")fund managed by Jim Shakin and Japan Momentum Opportunity("JMO")fund
 managed by Frank Teixeira were approved as "incubation internal funding" with Line Manager approval from
 Director of Global Equity Portfolio Management Charles Argyle. Mr. Stahl was also a Product Panel member who
 approved those funds directly or indirectly managed by him as Portfolio Manager.
 22 In several internal Wellington meetings attended by Mina Koide, Brendan Swords emphasized Wellington's
"patience' to nurture talent.
23 "Mission, Strategy, & Czrlta~f~e", presentation by then President Brendan Swords in February 2014.
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develop new products, and pressured me to give up my Portfolio Manager job wifliin 2 years of marketing
of my fund24.

Wellington allowed other Wellington employees outside of my protected classes and who are younger
than the to disregard Wellington policies, procedures, or practices25, and fiduciary duty to advantage
themselves and others outside my protected classes and who are younger than me while discriminating
against me26.

Wellington sought to eliminate my Portfolio Manager job under false pretext and replace me with a
younger man with lesser qualification for the job.27

Wellington sought to eliminate me as the Portfolio Manager at North Carolina Department of the State
Treasurer ("North Carolina") so that North Carolina would be forced to leave my product, to create
advantageous conditions for other Wellington employees outside of my protected classes and who are
younger than me to acquire North Carolina as their new clientZg.



RETALIATION
In response to my discrimination complaint that I submitted to the CEO Brendan Swords on January 22,
2016:




z4
   Reopening for marketing of JE fund in the fall 2014. First marketing meeting of JE fund with a new prospect
client was October 2014.
25
   Wellington's clients, institutional investors, typically require three to five years of existing track records for funds
in which they invest. Wellington has often complied with this industry practice by internally funding new products
to build track records before pushing the products for marketing.
26
   With Kent Stahl as Portfolio Manager for several multi-manager funds and a member of the Product Panel, with
Charles Argyle serving as Line Manager for multi-manager funds for which Mr. Stahl is Portfolio Manager, and
with Mr. Argyle serving as Line Manager for several sleeve funds included in Mr. Stahl's multi-manager funds,
Wellington had provided Mr. Argyle and Mr. Stah] with the practical authority to create and approve whatever funds
they wanted to. Mr. Argyle and Mr. Stahl favored themselves (both white, European/American men who are
younger than me)and other men who are younger than me, while disadvantaging me. Mr. Argyle and Mr. Stahl also
in practice had the power to discriminate against me in favor of themselves and other younger men, which they did
by seeking to force me out of my Portfolio Manager role for the Japan Equity fund.
27 Email from Thomas Baxter to Mina Koide on March 21, 2016
Zg Elizabeth O'Hara email to several Wellington personnel, North Carolina —Three Meetings, Good Dialog,
December 22, 2015. The mail described Kent Stahl's meeting with North Carolina on December 17, 2015 at the
client's office. Mr. Stahl recommended North Carolina to withdraw from North Carolina's current Wellington
mandate International Diversified Equity, for which Japan Equity under my management is a part, and invest instead
in global multi-manager solutions that Mr. Stahl managed such as Global Income Opportunities, Hedged Alpha
Opportunities. Japan Alpha Opportunities was approved as "underlying component" of Hedged Alpha Opportunities
in Apri12013 (See 4 Dec 2013 P~~oda~ct Panel meeting Notes) and Select Japan Value Realization was approved in
September 2015 as a "sleeve solution for Japan Alpha Opportunities" (See New Product Working Group and
Product Panel Review Sheet, August 18, 2015)

                                                            10
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Wellington retaliated against me with what Mr. Swords claimed was an "independent review", but was
actually a pretext to coerce, intimidate, and threaten me, and interfere with my ability to exercise and
               rights.29&30
enjoy my legal

Wellington retaliated against me by allowing other Wellington employees to exclude me from team
activities including team calls31

Wellington retaliated against me by allowing other Wellington employees to exclude me fi•om business
                                                                   32.
related communication such as regarding hiring of a new team member

Wellington retaliated against me by allowing other Wellington employees to exclude me from a meeting
                                                                                          33.
with Callan, a consultant to North Carolina, the client of the Japan Equity fund I managed

Most prominently, Wellington retaliated against me by terminating my employment on March 24, 2016,
without warning.3a



PRETEXT
In the act of whitewashing its discrimination and retaliation against me, Wellington deployed the
following pretexts that are contradicted by facts and evidence.

Wellington claimed that Mr. Argyle was "not terminating" my job as Portfolio manager. However, Mr.
Argyle's subordinate Associate Director of GEPM Thomas Baxter discussed my transfer with specific
time period and requirement such as communication to the client.

Wellington claimed that Mr. Argyle only mentioned transfer as an "idea" and "suggestion". However,
Wellington's business managers may spend a year or snore plamiing for team and portfolio manager
transitions35. I believe evidence shows that Mr. Argyle sought to remove me as Portfolio Manager to

29 See below for detail on CEO Brendan Swords "independent review". See email from Mr. Swords to Mina Koide,
February 11, 2016.
3o Meeting with Director of Global Employee Relations and Business Management Tama Donovan on February 23,
2016.
31 Email from Megumi Hiruma to Tomoko Lehman, February 24, 2016. Email from Tomoko Lehman to Mina
Koide, February 25,2016.
3z Email exchanged by Katsuhiro Iwai and Mina Koide, March 15, 2016.
33 Email from Elizabeth O'Hara on March 17, 2016, email between Laura Howenstine and Mina Koide on March
21, 2016, and between Kristen Pribeck and Mina Koide, March 22, 2016.
3a Meeting between Barbara Amone and Mina Koide, March 24, 2016.
35
   Former Wellington CEO Duncan McFarland stated that changing a Portfolio Manager is a carefully planned
process. Mr. McFarland's statements demonstrate the pretext of Charles Argyle's and Brendan Swords's comments
that Mr. Argyle was merely making a "suggestion" that I abandon my Portfolio Manager job.
As Mr. McFarland stated:
"Wellington places an emphasis on the orderly h•ansition of responsibility at all levels in the Firm, but particularly
on the orderly transition of portfolio management responsibility for client assets. The firm takes a number of steps
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replace me with a younger man36. I believe that evidence also shows that Mr. Argyle sought to remove
me as Portfolio Manager assigned to North Carolina Department of the State Treasurer ("North
Carolina") to create an advantageous condition for other Wellington employees outside of my protected
classes and who are younger than me37. I believe that both Mr. Argyle and Mr. Swords had knowledge of
Wellington's plan involving North Carolina.38

In his effort to pressure me out of my Portfolio Manager job managing North Carolina assets, Mr. Argyle
contended that leaving North Carolina in the middle of my assignment would not create a fiduciary
problem since with my new role in the Macroeconomist group, I would be able to serve a larger number
of Wellington's other clients besides North Carolina39. Mr. Argyle deployed a pretext, since I believe
what Mr. Argyle stated is a violation of fiduciary duty. Fiduciary duty owed to North Carolina as an
investor in the Japan Equity fund would not have been fulfilled by serving other Wellington clients
instead. In fact, the fiduciary duty would have been violated under those circumstances.

Wellington claimed that such an internal transfer was a "common practice" at Wellington. However,I am
not aware of any Portfolio Manager outside of my protected classes and who are younger than me, who
were pressured to transfer to the Macroeconomist group. I am aware of several Portfolio Manager outside
of my protected classes and who are younger than me who have been provided with fast track approval
and "incubation" for their new funds, and ongoing patient long-term support for their funds.

Wellington's "independent review" was a pretext to whitewash Wellington's violation of Federal and
Massachusetts anti-discrimination laws; and to coerce, threaten, and intimidate me. After CEO Brendan
Swords received my January 22 discrimination complaint, Mr. Swords consulted with, was advised by
and spoke to other Wellington senior officials and members of senior management, which I believe
includes Mr. Argyle9,a subject of my January 22 discrimination complaint. Mr. Swords, as the CEO and

to promote orderly transitions ...The portfolio manager succession process at Wellington is a lengthy one that
fi•equently can take a year or more."
Duncan McFarland Affidavit, May 20, 2008.
36 Associate Director of GEPM Thomas Baxter's statement on Yuichiro Soda in meeting with me on December 7,
2015 and Mr. Baxter's email on Mr. Soda on March 21, 2016
37 Elizabeth O'Hara email of December 22, 2015regarding Kent Stahl's meeting with North Carolina on December
17, 2015 at the client's office. Mr. Stahl recommended North Carolina to withdraw from North Carolina's cuiTent
Wellington mandate, International Diversified Equity, of which Japan Equity under my management was a part, and
invest instead in global multi-manager solutions that Mr. Stahl managed such as Global Income Opportunities,
Hedged Alpha Opportunities. Japan Alpha Opportunities was approved as "underlying component" of Hedged
Alpha Opportunities in April 2013 (See 4 Dec 2013 P~•odz~ct Paf~el meeting Notes) and Select Japan Value
Realization was approved in September 2015 as a "sleeve solution for Japan Alpha Opportunities" (See New
Product Working Group and Product Panel Review Sheet, August 18, 2015).
38 Through Charles Argyle's role as Vice Chairman, member of the Strategic Relationship Advisory Committee,
Line Manager• for the Japan Alpha Opportunities fund that is a component of the Hedged Alpha Opportunities fund
that Kent Stahl was marketing to North Carolina, and aide to Mr. Swords, and Mr. Swords's role as CEO whose
written Seven key initiativesfor 2016 emphasizes increasing "Strategic relationships" with large institutional clients
and prospective clients, both Mr. Swords and Mr. Argyle had the knowledge of Wellington's plan to target North
Carolina as a new "Strategic" client by Mr. Stahl.
39
   Meeting between Charles Argyle and Mina Koide, January 7, 2016

                                                         12
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the ultimate decision-maker at Wellington, judged my discrimination complaint as invalid three times
including at the February 5, 2016 meeting and subsequent emails to me40, then only after• he lead judged
there was no discrimination, he called for what he claimed as an "independent review"41.

Wellington's "independent review" was a pretext, since both of the Wellington employees assigned to
conduct the review on my January 22 Complaint were subordinate to Mr. Swords and not unaffiliated,
external reviewers`~2.

Once the CEO, the ultimate authority and decision maker had reviewed my discrimination complaint for
two weeks, consulted with Wellington personnel, and judged my claim as invalid, stating that there was
no discrimination, it was a farcical pretext for him to claim that subordinates under his authority would
conduct an "independent review".

Wellington's "independent review" was a pretext, since Wellington does not appear to have a written
policy and set of procedures for discrimination investigations leaving room for CEO Brendan Swords to
                                                                                       a3
direct a whitewash of my discrimination complaint and to direct retaliation against me.

Wellington's "independent review" was a pretext, since the part of the review that was conducted by
Chief Compliance Officer Nancy Morris`~`~ was aself-approval of Wellington's marketing material which
Wellington's Legal and Compliance group had already approved. Ms. Morris's review even justifies
Wellington's "retroactive" benchmark change on Japan Special Situation (JSS) fund by stating that
"relative performance did not allow its accomplishment" of improving its reported performance when in
reality the benchmark change made a tremendous improvement to the JSS fund's reported performance
by 68.4% for the 10 years from 2002 to 2011. Ms. Morris's review did not mention Wellington's Code of
                                                                              4s
Ethics or fiduciary duty and the related Wellington maxim "client, firm, self'

                                                                                                       ab
Wellington fired me on March 24, 2016 wider the pretext of"insubordination" and "disrespectful" tone
to Mr. Swords and other senior officials in my email communication to them. However, Wellington did
not give me any warning, any Wellington's policy or rules, nor any explanation as to what I allegedly did
violated what alleged policy or rule of Wellington.




4o
    Email from Brendan Swords to Mina Koide on February 8, 2016 and on February 11, 2016
`~~ Email from Brendan Swords to Mina Koide on February 11, 2016.
42
    Director of Global Employee Relations and Business Management Tama Donovan and Chief Compliance Officer
Nancy Morris were assigned by CEO Brendan Swords to review my January 22 Complaint.
`~3 Throughout the period of January 22, 2016 —March 22, 2016, no one at Wellington was able or willing to cite to
me specific written policies and procedures regarding Wellington's investigations of discrimination complaints, and
no one provided me with a copy of such a written policy.
a4
    March 23, 2016. My access to Ms. Morris' review was controlled by General Counsel Cynthia Clarke.
4s
    Nancy Morris stated "...I have been encouraged by how Wellington Management truly lives up to its maxim
`client, firm, selfl at Wellington Management Compliance and Risk Management Forum 2013.
`~6 Meeting with Chief Human Resources Officer, Barbara Amone

                                                        13
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Chief Human Resources Officer Barbara Amone made a vague reference to my e-mail communication
with CEO Brendan Swords when she set up a meeting for my termination47. However, my e-mail
communications with Mr. Swords and other Wellington personnel who were directly involved in the
"independent review" that Mr. Swords ordered on my January 22 Complaint. I was engaging in protected
activity.


My alleged "insubordination" and "disrespect" was a pretext, since Wellington has heated other
employees outside my protected classes and younger than me very differently as regards disciplinary
actions48. In documented situations involving employees outside of my protected classes who are
younger than me, employees who engaged in multiple forms of serious misconduct including harassment,
attacks on women and the vulnerable, and "insubordinate" and "disrespectful" conduct, Wellington gave
the offending employees detailed oral warnings, written warnings, and specific explanations of the
employees' wrongdoing. Wellington also provided the employees with coaching or referrals to coaching
for improving their workplace conduct. Wellington let these individuals remain employed after receiving
disciplinary action and warnings. In sharp contrast, I did not violate any Wellington's rule or policy, and
Wellington terminated me, "effective immediately" and without any warning, for having engaged in
legally protected activity.

My termination for "insubordination" and "disrespect" was a pretext. The Personnel Record that I
requested and received from Wellington under Massachusetts General Laws Chapter 149 Section 52C
lists me as "retired". I saw no mention of"insubordination" or "disrespect" in the copy of my Personnel
Record that Wellington sent me. I saw no disciplinary actions or disciplinary warnings in the copy of my
Personnel Record that Wellington sent me.

Wellington continued to engage in pretextual behavior after it fired me in retaliation on March 24, 2016
for submitting a discrimination complaint. I believe that the disposition of the Japan Equity fund was
carried out in accordance to Wellington's plan, and was not based on North Carolina's informed consent.

Wellington continued to engage in pretextual behavior after my termination, since it did not notify
investors for Wellington Trust Company CIF Japan, as part of Wellington Management Retirement Fund
that I managed, that there was a change in Portfolio Manager for the Japan Equity fund. Through the
liquidation of the fund in June 2016, the prospectus ov the website still showed me as the Portfolio
Manager.

Wellington continued to engage in pretextual behavior after my termination, since the Persoimel Records
that I requested on July 19, 2016 and received on July 27, Wellington failed to include my 2015 Manager
Review document which Mr. Argyle and Mr. Baxter prepared for Wellington's three Managing Partners
(of which Mr. Swords is one). My 2015 Manager Review was prepared by Mr. Argyle and Mr. Baxter
shortly before they pressured me to abandon my Portfolio Manager job.



47 Email from Barbara Amone to Mina ICoide, March 22, 2Q 16.
48 Fixed Income Portfolio Manager John Keogh in December 2002 and Equity Portfolio Manager Minerva Butler in
January 2004

                                                    14
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INVOLVEMENT OF RESPONDENT

Wellington is responsible for the above discrimination ai d retaliation against me. I believe that CEO
Brendan Swords and Vice Chairman Charles Argyle are also responsible for the discrimination and
retaliation against me due to their direct actions and their respective managerial positions within
Wellington.

Mr. Argyle was directly involved in seeking to terminate my job as Equity Portfolio Manager in order to
replace with me with a younger man in my business unit. Mr. Argyle also tried to remove me as the
Portfolio Manager for North Carolina Department of the State Treasurer ("North Carolina") to create an
advantageous condition for Director of Investment Strategy and Risk Kent Stahl and Portfolio Manager
ICatsuhiro Iwai to acquire North Carolina as their client. As a member of the senior management, he also
participated Wellington's retaliation against me including my termination.

Mr. Argyle held the position, influence, and control to advantage other Wellington's employees outside of
my protected classes and who are younger than ine.

Mr. Argyle's Wellington biography states that "... he acts as an aide to the chairman and CEO [Mr.
Swords] with respect to external affairs of the organization, with a focus on representing our firm globally
with clients, prospects [potential clients], and industry groups ...".

Mr. Argyle is a member of several Wellington committees including the Strategic Relations Committee,
which Wellington states is responsible for "[e]stablishing criteria to identify Strategic Relationships,
which include Strategic Partners, Clients, Prospects, Consultants, and key Business Partners" and
"Ongoing monitoring of our internal Strategic Relationship universe."a9- Mr. Swords listed "Strategic
                                                             so
relationships" as one of his "Seven key initiatives for 2016"

Mr. Argyle is also a Line Manager. As a Line Manager, Mr. Argyle exercises authority over both
Wellington employees who manage funds and the funds that those employees manage. "Line Manager
Approval" is required for launch of new Wellington funds, as shown in Wellington's "New Product
Working Group and Product Panel Review Sheet", a standardized Wellington form that must be
submitted for new funds to be approved. As that standard Wellington form states regarding Line
Manager Approval: "Indicate that the appropriate line manager has signed-off on the proposed
product..."




49 Michael Boudens memorandum,"Strategic Relationship Advisory Committee, November 20,2015
so
   BI•endan Swords, "Seven key initiativesfor 2016, February 8, 2016"

                                                     15
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In his role as Director of GEPM and Line Manager for fiords, Mr. Argyle has direct power over Product
Managers such as Hideo Uelci. For example, while Mr. Ueki is Product Manager for several funds51,the
                                                                               52
creation and operation of those fiends require the approval of the Line Manager



Mr. Swords as CEO is the ultimate decision-maker for Wellington. He judged my discrimination
complaint to be invalid, he exonerated Mr. Argyle over his discriminatory plan to remove me as Portfolio
Manager of the Japan Equity fund, he ordered the pretextual "independent review", and he was the
ultimate decision-maker for my termination in retaliation for having submitted a discrimination
complaint.



ADDITIONAL DISCRIMINATORY TREATMENT

What'I believe are misleading statements and material omissions in Wellington marketing documents
provide evidence of Wellington's advantaging of persons outside my protected classes and younger than
me, and discriminating against me.

The Japan Special Situations ("JSS") fund, managed by Mr. Iwai from 2013, carries a historical
performance record that I believe is misleadingly represented due to a retroactive53 change in its
benchmark (indexes with which the fund's performance was compared) made in 2011. Until 2011 and
2012, Wellington used a small company index, the RusselllNoinura Small Cap Value Index, as the
benchinarlc for presenting and marketing the JSS fund. Due to the strong outperformance of Japanese
small cap stocks which comprise the Russell/Nomura Small Cap Value Index, that small cap index
outperformed the TOPIX by an average of 6.8% per year from 2002-2011, and 68.3% over the entirety of
the period, Wellington retroactively changed the JSS fund's benchmark to the TOPIX. As a result of this
change, JSS's performance was improved by 68.3% over the entirety of the 10 year period, from
annual 2.0% under-performance to 4.8% annual out-performance for the 10 consecutive years.
Wellington's Legal and Compliance group approved this retroactive change, and Wellington no longer
discloses the index change in later JSS marketing materials.

Under Mr. Iwai, the JSS fund still carries the retroactively inflated 10 year historical relative performance
record as part of its 15 years record, and Mr. Iwai developed and marketed new funds off of the JSS
fund's approach54 and track record55. When Mr. Iwai marketed the FJVR fund, the "larger cap" version

51 Wellington often refers to its funds as "products", as indicated by title "Product manager" (the "products" a
Product Manager is involved with are funds) and the New Product Working Group and Product Panel which reviews
proposed new funds.
52 Wellington's standard form of its New Product Working Group and Product Panel Review Sheet contains a
section called "Line Manager Approval" that states "Indicate that the appropriate line manager has signed-off on the
proposed product..."
s3 Wellington Chief Compliance Officer Nancy Morris confirmed the retroactive change in JSS benchmark on her
March 23, 2016 review in response to my January 22 Complaint while maintained that there was no violation. Ms.
Morris's review only cites Wellington's internal process and own assessment as the bases for the change.
s4 JSS, JVR used the common "net cash" screen and there were many overlaps in the holdings.

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of the JVR fund on January 25, 2016 to Pension Association of Japan ("PFA"), Mr. Iwai stated that
"FJVR/JVR approach is created over JSS with 15 years of proven approach". However, 10 of the 15
years in the JSS fund track record that Mr. Iwai presented to PFA was inflated on a relative basis due to
the retroactive benchmark changes of 68.3% on a cumulative 10-year basis and 6.8% on annual basis. It
does not appear that the potential FNR investor, Pension Fund Association of Japan, was told that the
"I S years of proven approach" actually included 10 years that Wellington initially reported as
underperforming the fund's then benchmark by an average of 2.0% per year. In her March report of her
"independent review" findings, Chief Compliance Officer Nancy Morris confirmed that Wellington had
approved the benchmark change at the time it was made, and she did not appear to find anything improper
in how Wellington handled the retroactive change.

Mr. Stahl's multi-manager Japan Alpha Opportunity fund itself was asmall-cap value driven approach
particularly in its inception56 in April 2013, and by using TOPIX Index as a benchmark, it benefited from
the small cap outperformance in 2014 and 2015. However, it does not appear to have been disclosed that
the fund's "Alpha" (as the fund's name indicates) appears to have been dependent on small cap
outperformance of larger cap stocks rather than on Portfolio Manager stock selection skill.

The Wellington representations that I believe were misleading and that omitted material facts advantaged
Mr. Stahl and Mr. Iwai and were used against me to their benefit, since Wellington sought to replace me
at North Carolina with Mr. Stahl's Japan Alpha Opporttuiities ("JAO") fund (a component of the HAO
fund for which Mr. Stahl is also Portfolio Manager). Mr. Iwai's "larger cap version of JVR"57 fund was
approved as a "sleeve solution" for the JAO fund by Wellington's Product Panel(of which Mr. Stahl was
a member).

 When Wellington's Product Panel approved new funds such as Japan Alpha Opportunities ("JAO"),
Japan Contrarian Value ("JCV", Japan Momentum Opportunities ("JMO") and Select Japan Value
•Realization ("S-JVR"), Mr. Stahl was an interested party. Mr. Stahl was a member of the Product Panel
as well as a Portfolio Manager seeking approval from the Panel for the JAO fund which he directly
 managed as Portfolio Manager, as well as his component funds, JCV,TMO and S-JVR.

Wellington's biography of Mr. Stahl states that Mr. Stahl serves as "risk advisor" to several of
Wellington's "larger clients"Sg. When Mr. Stahl approached the North Carolina Office of State Treasurer
and Brown Advisory, Mr. Stahl provided "risk" analysis but he was an interested party when approaching
North Carolina as a "risk advisor", since he was promoting his own products which he managed as
Portfolio Manager.

ss As illustrated by a JVR fund presentation of July 23, 2015 and a JSS fund presentation on December 9, 2015, JVR
fund presentations included a JSS fund historical performance page and JSS fund presentations contained
information on JVR fund. In Wellington's Japan Equity Product Line-up presentation on March 13, 2015 JSS fund
and JVR fund are introduced as "same philosophy, process, team."

sb New Product Working Group and Product Panel Review Sheet, April 10, 2013 with a table comparing JAO to
MSCI Japan.
57 New Product Working Group and Product Panel Review Sheet, Select Japan Valare Realization, August 18, 2015.
58 Kent Stahl's Wellington biography.
                                                       17
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Mr. Stahl serves on a number of Wellington's investment review committees, including as chairman of
the Equity Review Group, as a member of the Fixed Income Review Group, and as the leader of the
Equity Rislc Advisory Council.sg However, Mr. Stahl is an interested party in reviewing Wellington's
investment products as he is the Portfolio Manager for many of Wellington's funds with combined assets
of over $22 billion,s9




59 Performance Summary Alpha, December 31, 2015.

                                                   18
